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                                                                                                 U.ij. Dio i Kl'-- 1 i.OU'Di i
                            IN     THE UNITED        STATES DISTRICT                        COURT        AUGUSTA DiV.
                            FOR THE SOUTHERN DISTRICT OF GEORGIA
                                            STATESBORO DIVISION                                 2Q JUN-2 PH 3*


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UNITED        STATES        OF   AMERICA                                                             LDIST. 0
                                                                                                   SO.DIST.              3A.

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        V .                                                                      CR    612-018-4
                                                            *


                                                            *
JEFFERY        JACKSON




                                                     ORDER




                                                                                                         w
        Defendant                Jeffery       Jackson                 has        filed         a            Motion        for


Compassionate Release and Reduction of Sentence under 18 U.S.C.                                                                  §

                       ff

3582(c) (1) (A)                  based     upon      his         apprehension                  of        the       COVID-19


pandemic.            Upon         due      consideration,                the          Court    denies             Jackson's

request for relief.

        As an initial matter,                      Jackson cites to a Memorandum from the

Attorney        General            directing         the         Director              of     Bureau          of    Prisons

                                                           \\

("BOP")       to prioritize the use of                          various statutory authorities to

grant home confinement for inmates seeking transfer in connection

                                                                  t!

with the ongoing COVID-19 pandemic.                                    See Memorandum dated Mar.                           26,

2020,     available              at   https:IIwww.justice.gov/file/1262731/download

(last     visited June                1,   2020) .        The statutory authority upon which

the BOP is processing requests to transfer to home confinement is

18   U.S.C.      §     3624(c) (2)           and     34    U.S.C.            §    60541;       neither             of    these

code sections vest the United States District Court with authority

to   order      home         confinement.             Indeed,            designation                of       an    inmate's
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place of confinement is within the absolute discretion of the BOP.

E.g., Jones v. Woods, 2019 WL 2754731, *4 (M.D. Ala. Jun. 4, 2019)

(cited sources omitted); Brown v. Atkinson, 2010 WL 3659634, *4

(S.D. Fla. Jun. 11, 2010) ("A federal district court does not have

the     authority       to    order       an        inmate's   placement         in      a    particular
                                  tf

facility or program.                   (cited sources omitted).)                 Accordingly, the

Court can offer no relief based upon this Memorandum.

         Jackson also invokes the compassionate release provision of

18     U.S.C.   §      3582(c) (1) (A)          in    support   of       his    motion.           Section


3582(c) (1) (A) provides a narrow path for a district court to reduce

                                                                           \\
the     sentence        of    a        criminal       defendant      in         extraordinary           and

                                          rt

compelling circumstances.                       Prior to the passage of the First Step

Act, only the Director of the Bureau of Prisons ("BOP") could file

a     motion for compassionate release in the                            district court.                The


First Step Act modified § 3582(c)(1)(A)                             to    allow      a   defendant       to


move a federal district court for compassionate release, but only
\\

     after he has fully exhausted all administrative rights to appeal

a     failure   of      the   Bureau           of    Prisons   to    bring       a    motion      on    the

defendant's behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant's facility, whichever
                  It
is     earlier.          In   this       case.       Jackson    concedes         that        he   has   not


exhausted his administrative remedies prior to seeking relief in

the district court.               For this reason, the Court must deny Jackson's

motion.



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        Moreover,       in    consideration          of      his     bid     for         compassionate

release, this Court may only reduce his sentence if it finds that
\\                                                           ff

     extraordinary and compelling reasons                          warrant       such     a       reduction


and     that    such    reduction       is    consistent            with         applicable          policy
                                                                                                            n

statements issued by the [United States] Sentencing Commission.

18     U.S.C.    §    3582(c) (1) (A) .       Section             IBI.13    of     the        Sentencing

Guidelines provides the applicable policy statement, explaining

that a sentence reduction may be ordered where a court determines.

upon consideration of the factors set forth in 18 U.S.C. § 3553(a),
                                                                            //
that       extraordinary          and    compelling               reasons          exist          and     the


defendant does not present a danger to the safety of any other

person or the community.             U.S.S.G. § IBl.13.                The application notes

to      this    policy       statement       list          three     specific            examples          of

extraordinary and compelling reasons to consider reduction of a

defendant's          sentence      under     §       3582(c) (1) (A):              (1)        a    medical


condition;       (2)    advanced     age;    and      (3)         family    circumstances.                Id.

                                                                                    \\
n.KA)-(C).           A fourth catch-all category provides:                               As determined


by the Director of the Bureau                    of Prisons, there                  exists          in    the


defendant's          case    an   extraordinary            and     compelling            reason         other

                                                      rr

than,      or    in      combination         with.           the      aforementioned                    three


categories.          Id. n.l(D) (emphasis added).

        In this case, the only possibly applicable category into which

Jackson may fall is a qualifying medical condition, particularly

since the Director of the BOP has not determined he is eligible

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for    relief.       Jackson         bears    the    burden     of    demonstrating              that

compassionate release is warranted.                   Cf. United States v. Hamilton,


715 F.3d 328, 337 (ll^h cir. 2013) (in the context of a motion to

reduce      under   §     3582(c)(2)).         To    qualify     as    extraordinary               and
                                                                               \\

compelling, an inmate's medical condition must be                                   serious        and


advanced . . . with an end of life trajectory, U.S.S.G. § IBI.13,
                                                                          \\

app. note 1(a)(i), or must be serious enough that it                           substantially

diminish[es]        the    ability       of   the    [inmate]    to    provide        self-care

within the environment of a correctional facility and from which

                                                        n

he or she is not expected to recover.                       id. , app. note 1(a) (ii).

Jackson presents no medical evidence that he meets either of these

criteria.        Indeed, his argument seems to be that he will likely

meet the     criteria      if he     contracts       COVID-19.       Here, Jackson is 46

years old and suffers from high                     blood pressure; he also states

that he has two herniated discs in his upper neck.                        These factors.


however, are not high-risk factors as delineated by the Center for

Disease     Control.^          See   Center    for    Disease    Control,       At        Risk    for


Severe Illness,           available at https://vivivi. cdc. gov/coronavirus/2019-

ncov/need-extra-precautions/qroups-at-higher-risk.html                                           (last


visited     on   June     1,   2020) .        Also,    Jackson       provides        no        medical

evidence to support his alleged serious medical conditions or the



1
      The   high-risk list includes "serious heart conditions" which
include heart failure, coronary artery disease, congenital heart
                                                                                          //

disease, cardiomyopathies, and pulmonary hypertension,      High
blood pressure in and of itself is not listed.

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impact     that    COVID-19      would     have     upon    him    individually.                   His


generalized concern about possible exposure is at this point too

speculative to qualify as extraordinary and compelling.                                       As   the

                                     \\

Third Circuit explained:                  [T]he    mere    existence         of        COVID-19 in

society and the possibility that it may spread to                                  a    particular

prison alone cannot independently justify compassionate release,

especially     considering        BOP's    statutory        role,      and       its     extensive

                                                                            rr

professional efforts to curtail the virus's spread.                               United States


V.   Raia,   954    F.3d   594,   597     (3d     Cir.    2020).       In        short,    without


medical evidence       and other necessary documentation                           (such      as    an

approved     home    release      plan)     from     which      this    Court           may    fully

evaluate Jackson's individual circumstances as they relate to the

COVID-19     pandemic.     the    Court     would        deny   Jackson's          request         for

compassionate release on the merits as well.

        Upon the foregoing.         Defendant Jeffery Jackson's motion for

immediate release (doc. 1401) is DENIED.


      ORDER ENTERED at Augusta, Georgia, this                                     day of June,

2020.



                                                                   )
                                                   J.      .NDAL/HALL, CHIEF JUDGE
                                                   UNITED>6TATES DISTRICT COURT
                                                   SOUTHERN       DISTRICT         OF GEORGIA




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